Case 2:17-cv-00572-JRG Document 93 Filed 11/28/18 Page 1 of 1 PageID #: 1994



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

IMMERSION CORPORATION                             §
          Plaintiff,                              §
                                                  §
v.                                                §       CASE NO. 2:17-cv-00572-JRG
                                                  §
SAMSUNG ELECTRONICS AMERICA,                      §
INC. et al                                        §
           Defendants.                            §

                                  REPORT OF MEDIATION

       The above-captioned case was mediated by David Folsom on Tuesday, November 27,

2018, between Plaintiff, Immersion Corporation, and Defendants Samsung Electronics America,

Inc. and Samsung Electronics Co., Ltd. The mediation session has been suspended.       The

undersigned mediator will continue to work with the parties in an effort to settle.

       Signed this 28th day of November 2018.


                                                      /s/ David Folsom
                                                      David Folsom
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                                 CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in
compliance with Local Rule CV-5(a) on this 28th day of November 2018. As such, this
document was served on all counsel who are deemed to have consented to electronic service.
Local Rule CV-5(a)(3)(A).

                                                      /s/ David Folsom
                                                      David Folsom
